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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:17-CR-00137-LJO-SKO
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                          FINDINGS AND ORDER
14   GREVIN MARIO MORALES, SR.,                         CURRENT DATE: November 14, 2018
                                                        COURT: Hon. Lawrence J. O’Neill
15                                Defendant.
                                                        PROPOSED DATE: February 26, 2019
16                                                      PROPOSED TIME: 8:30 a.m.
                                                        COURT: Hon. Lawrence J. O’Neill
17

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20
                                                 STIPULATION
21
            Plaintiff United States of America, by and through its counsel of record, and defendant Grevin
22
     Mario Morales, Sr., by and through defendant’s counsel of record, Marc Days, hereby stipulate as
23
     follows:
24
            1.      Trial in this matter has been set for November 14, 2018, and time had previously been
25
     excluded to that date pursuant to the Speedy Trial Act, 18 U.S.C.§ 3161(h)(7)(A), B(iv).
26
            2.      On August 23, 2018, the government produced toll records from a phone the government
27
     suspects is defendant’s and is relevant to the charges in this matter. On September 20, 2018, the
28
     government produced: a report of the DEA’s in-depth analysis of the above referenced toll records; a
       STIPULATION REGARDING EXCLUDABLE TIME          1
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 1 report of the DEA’s in-depth analysis and comparison of the above referenced phone’s toll records with

 2 toll records from co-defendant Whitehead’s phone; and further analysis of text messages previously

 3 seized and produced to defendant from the above referenced phone the government suspects is

 4 defendant’s. On October 4, 2018, the government produced a redacted copy of co-defendant Joshua

 5 Whitehead’s toll records relevant to the charges in this matter.

 6          3.     By this stipulation, defendant now moves to continue the trial until February 26, 2019, at

 7 8:30 a.m. and to exclude time between November 14, 2018, and February 26, 2019, inclusive, under the

 8 Speedy Trial Act, 18 U.S.C.§ 3161(h)(7)(A), B(iv).

 9          4.     The parties agree and stipulate, and request that the Court find the following:

10                 a)      Based on counsel’s review of the recently-produced discovery, counsel intends to

11          file a motion to suppress evidence obtained from defendant’s suspected cellular telephone and to

12          explore other potential motions to address and diminish the evidentiary value of the recently

13          disclosed call comparisons and toll analyses. Counsel for defendant desires additional time to

14          review the additional discovery, to conduct research and investigation related to potential

15          motions to exclude evidence, and to consult with his client.

16                 b)      Counsel for defendant believes that failure to grant the above-requested

17          continuance would deny him the reasonable time necessary for effective preparation, taking into

18          account the exercise of due diligence.

19                 c)      The government does not object to the continuance.

20                 d)      Based on the above-stated findings, the ends of justice served by continuing the

21          case as requested outweigh the interest of the public and the defendant in a trial within the

22          original date prescribed by the Speedy Trial Act.

23                 e)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

24          et seq., within which trial must commence, the time period of November 14, 2018 to February

25          26, 2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it

26          results from a continuance granted by the Court at defendant’s request on the basis of the Court’s

27          finding that the ends of justice served by taking such action outweigh the best interest of the

28          public and the defendant in a speedy trial.

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 1          5.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          6.      Regarding the above-referenced motion to suppress, the parties request that the Court set

 5 the following briefing schedule:

 6                  a)     Defendant’s Motion to Suppress Due: November 14, 2018

 7                  b)     Government’s Opposition Due: January 2, 2019

 8                  c)     Defendant’s Reply Due: January 28, 2019

 9                  d)     Motion to Suppress Hearing: February 11, 2019, at 9:30 a.m.

10          IT IS SO STIPULATED.

11

12
     Dated: October 11, 2018                                  McGREGOR W. SCOTT
13                                                            United States Attorney
14
                                                              /s/ ANGELA L. SCOTT
15                                                            ANGELA L. SCOTT
                                                              Assistant United States Attorney
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18 .Dated: October 11, 2018                              /s/ per email authorization
19                                                        MARC DAYS
                                                          Counsel for Defendant
20                                                        GREVIN MARIO MORALES, SR.
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22

23                                          FINDINGS AND ORDER

24          Pursuant to the parties’ stipulation and good cause shown, IT IS HEREBY ORDERED that the

25 current trial date is vacated and continued to February 26, 2019, and the time period between November

26 14, 2018, and February 26, 2019, inclusive, is excluded from the calculation under the Speedy Trial Act

27 pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) for the reasons stated in the parties’ stipulation.

28          The following briefing schedule IS HEREBY FURTHER ORDERED:

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 1 Defendant’s Motion to Suppress Due: November 14, 2018

 2 Government’s Opposition Due: January 2, 2019

 3 Defendant’s Reply Due: January 28, 2019

 4 Motion to Suppress Hearing: February 11, 2019, at 9:30 a.m.

 5         Counsel are put on notice that:

 6         1. There will be no further continuances; and

 7         2.   They are number two behind another criminal jury trial. Should that case go to trial, and the

 8              instant case not resolve, the instant case will trail day to day until the court is available.

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     IT IS SO ORDERED.
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11     Dated:      October 11, 2018                            /s/ Lawrence J. O’Neill _____
                                                    UNITED STATES CHIEF DISTRICT JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME                4
      PERIODS UNDER SPEEDY TRIAL ACT
